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                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


CONN APPLIANCES, INC.,                         §
                                               §
         Plaintiff,                            §
                                               §
v.                                             §           CIVIL ACTION 4:19-CV-01097
                                               §
VERONICA DAVIS,                                §
                                               §
         Defendant.                            §

                                            ORDER

         On March 25, 2019, an arbitrator issued an award in favor of Defendant Veronica Davis

and against Plaintiff Conn Appliances, Inc. Presently before the Court is Plaintiff’s application

to vacate the award (Dkt. 1) and Defendant’s application to confirm the award (Dkt. 11). After

consideration, the Court finds that the arbitrator did not exceed his powers. Thus, the Court

DENIES Plaintiff Conn Appliances, Inc.’s application to vacate the arbitration award. The Court

GRANTS Defendant Veronica Davis’ application to confirm the award.

         It therefore is ORDERED, that the arbitration award granted on March 25, 2019 (Dkt. 1-

7), is CONFIRMED. The Clerk of the Court is directed to enter judgment in accordance with this

Order.

         Signed at Houston, Texas on _______________ _____, 2019.




                                                   ___________________________________
                                                               Gray H. Miller
                                                         United States District Judge
